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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION


    JUAN LOZADA-LEONI,                          §
    Plaintiff,                                  §
                                                §
    v.                                          §
                                                §           Civil Action No. 4:20-cv-00068
                                                §
    MONEYGRAM INTERNATIONAL,                    §                     RWS-CMC
    INC., and MONEYGRAM                         §
    PAYMENT SYSTEMS, INC.,                      §
    Defendants                                  §
                                                §
                                                §



                          ORDER GRANTING TELEPHONE CONFERENCE
          THIS MATTER having come before the Court by KLG’s Motion for Telephone

   Conference; and the Court having reviewed the submissions of the parties; and for good cause

   shown, it is hereby:

          ORDERED that KLG and Hutchison & Stoy participate in a discovery telephone

   conference before Judge Craven on _____ at _____.


   SO ORDERED.

                                                       __




   ORDER REGARDING TELEPHONE CONFERENCE ON ATTORNEY FEE DISPUTE
                                             Page 1 of 1
